Case 2:14-cr-20117-DML-RSW ECF No. 330, PageID.1215 Filed 02/19/15 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff,                                     Case Number 14-20117
 v.                                                            Honorable David M. Lawson

 XAVIER GIOVANNI DELEON,

             Defendant.
 ______________________________/

                  ORDER DENYING MOTION FOR RECONSIDERATION

        This matter is before the Court on the defendant’s motion for reconsideration of the Court’s

 February 3, 2015 opinion and order denying the defendant’s motion to suppress. The Court has

 reviewed the defendant’s motion and finds that he has failed to demonstrate any palpable defect by

 which the Court and the parties were misled. The Court therefore will deny the motion.

        Motions for reconsideration may be granted pursuant to E.D. Mich. LR 7.1(h)(1) when the

 moving party shows (1) a “palpable defect,” (2) that misled the court and the parties, and (3) that

 correcting the defect will result in a different disposition of the case. E.D. Mich. LR 7.1(h)(3). A

 “palpable defect” is a defect which is obvious, clear, unmistakable, manifest, or plain. Mich. Dep’t

 of Treasury v. Michalec, 181 F. Supp. 2d 731, 734 (E.D. Mich. 2002) (citations omitted).

 “Generally . . . the court will not grant motions for rehearing or reconsideration that merely present

 the same issues ruled upon by the court.” E.D. Mich. LR 7.1(h)(3).

        The defendant’s motion essentially reiterates the arguments previously advanced by the

 defendant in his motion to suppress. The Court addressed and rejected those arguments in its prior

 opinion and need not do so again here. The defendant has failed to show any palpable defect in the

 Court’s opinion and order or any error of fact or law by which the Court and parties were misled.
Case 2:14-cr-20117-DML-RSW ECF No. 330, PageID.1216 Filed 02/19/15 Page 2 of 2




       Accordingly, it is ORDERED that the defendant’s motion for reconsideration [dkt. #326]

 is DENIED.

                                                                 s/David M. Lawson
                                                                 DAVID M. LAWSON
                                                                 United States District Judge
 Dated: February 19, 2015

                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on February 19, 2015

                                                         s/Susan Pinkowski
                                                         SUSAN PINKOWSKI




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